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           8                                    UNITED STATES DISTRICT COURT
           9                                    EASTERN DISTRICT OF CALIFORNIA
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          11   TIMOTHY C. NELSON,                                Case No. 2:05-cv-01193 MCE-KJM

          12                       Plaintiff,

          13   v.                                                ORDER GRANTING DEFENDANT
                                                                 CALVIN CHANG’S APPLICATION TO
          14   CITY OF DAVIS; JAMES HYDE,                        EXCEED COURT’S PAGE LIMIT ON
               individually and in his official capacity as      MOTION FOR SUMMARY JUDGMENT
          15   Chief of Police for the CITY OF DAVIS;
               SERGEANT JOHN WILSON, individually
          16   and in his official capacity as a Sergeant for
               the CITY OF DAVIS; CALVIN HANDY,
          17   SERGEANT MICHAEL MASON,
               OFFICER JAVIER BARRAGAN,
          18   OFFICER BRANDON JONES, OFFICER
               CALVIN CHANG, OFFICER M.
          19   GARCIA, individually and DOES 1-100,
               inclusive,
          20
                                   Defendants.
          21

          22

          23              The Application of Defendant Calvin Chang for permission to file a memorandum of

          24   points and authorities in support of his motion for summary judgment that is over 20 pages in

          25   length having been considered by this Court, satisfactory proof having been made and good cause

          26   appearing,

          27   ///

          28   ///

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               Case 2:05-cv-01193-MCE-CKD Document 135 Filed 10/19/09 Page 2 of 2


           1              IT IS ORDERED that Defendant Calvin Chang may file a memorandum in support of his

           2   motion for summary judgment not to exceed 30 pages in length. The page limits applicable to

           3   any other Defendants filing their own motions are similarly extended, as is Plaintiff’s opposition

           4   points and authorities to any such motions henceforth filed.      Finally, in light of the above

           5   extensions, reply papers may be up to 15 pages in length.

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           7   DATED: October 19, 2009

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                                                             ________________________________
           9                                                 MORRISON C. ENGLAND, JR.
                                                             UNITED STATES DISTRICT JUDGE
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